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Information to identify the case:
Debtor 1              Nelson O. Ramos                                                  Social Security number or ITIN   xxx−xx−7250

                      First Name   Middle Name   Last Name                             EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Dolores E. Ramos                                                 Social Security number or ITIN   xxx−xx−6555
(Spouse, if filing)
                      First Name   Middle Name   Last Name                             EIN    _ _−_ _ _ _ _ _ _

United States Bankruptcy Court District of Connecticut

Case number: 13−50958 jam




Order of Discharge                                                                                                                    12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

                Nelson O. Ramos                                                 Dolores E. Ramos

                9/30/16                                                         By the court:      Julie A. Manning
                                                                                                   United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                  Most debts are discharged
                                                                                Most debts are covered by the discharge, but not all.
                                                                                Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                       liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                       In a case involving community property: Special rules
attempt to collect a discharged debt from the                                   protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                               spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                     case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                               Some debts are not discharged
debtors by mail, phone, or otherwise in any                                     Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                         ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                         ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                   ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                             U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                        523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                         the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                             For more information, see page 2




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     ♦ debts that the bankruptcy court has                              ♦ debts for restitution, or damages,
       decided or will decide are not discharged                          awarded in a civil action against the
       in this bankruptcy case;                                           debtor as a result of malicious or willful
                                                                          injury by the debtor that caused
                                                                          personal injury to an individual or the
     ♦ debts for most fines, penalties, forfeitures,                      death of an individual; and
       or criminal restitution obligations;

                                                                        ♦ debts for death or personal injury
     ♦ some debts which the debtors did not                               caused by operating a vehicle while
       properly list;                                                     intoxicated.


     ♦ debts provided for under 11 U.S.C. §                        In addition, this discharge does not stop
       1322(b)(5) and on which the last payment                    creditors from collecting from anyone else who
       or other transfer is due after the date on                  is also liable on the debt, such as an insurance
       which the final payment under the plan                      company or a person who cosigned or
       was due;                                                    guaranteed a loan.

     ♦ debts for certain consumer purchases
       made after the bankruptcy case was filed                    This information is only a general
       if obtaining the trustee's prior approval of                summary of a chapter 13 discharge; some
       incurring the debt was practicable but was                  exceptions exist. Because the law is
       not obtained;                                               complicated, you should consult an
                                                                   attorney to determine the exact effect of
                                                                   the discharge in this case.




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